               Case 2:17-cr-00048-JAM Document 21 Filed 09/22/17 Page 1 of 3


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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           2:17-CR-00048-JAM
12                                Plaintiff,             STIPULATION AND [PROPOSED] ORDER TO
                                                         CONTINUE STATUS CONFERENCE
13                          v.
                                                         Date: September 26, 2017
14   HENRY JAMES BARLOW and                              Time: 9:15 a.m.
     JESSE DAVID RICHARDSON,                             Judge: Hon. John A. Mendez
15
                                  Defendants.
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18          Plaintiff United States of America, through its respective counsel, and Defendants Henry James

19 Barlow and Jesse David Richardson, through their counsel of record, stipulate that the status conference

20 currently set for September 26, 2017, be continued to November 7, 2017, at 9:15 a.m.

21          On March 23, 2017, both Defendants were arraigned on the two-count Indictment in this case.

22 (ECF Nos. 10, 12.) Since that time, the United States has produced nearly 400 pages of discovery, which

23 includes all of the reports, photos, and laboratory results generated in connection with this case. In the

24 coming weeks, the government expects to produce some additional materials, including the results of a

25 forensic extraction of several cellular telephones seized at the incident site. Both defense counsel will

26 require additional time to review these new materials, as well as the materials already produced, to confer

27 with their clients, to conduct research and investigation about the charged offenses, and to otherwise

28 prepare for trial.

      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       1
      STATUS CONFERENCE
              Case 2:17-cr-00048-JAM Document 21 Filed 09/22/17 Page 2 of 3


 1          Based on the foregoing, the parties stipulate that the status conference currently set for September

 2 26, 2017, be continued to November 7, 2017, at 9:15 a.m. The parties further agree that time under the

 3 Speedy Trial Act should be excluded from the date this order issues to and including November 7, 2017,

 4 under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479, Local

 5 Code T4, based on continuity of counsel and defense preparation.

 6          Counsel and the Defendants also agree that the ends of justice served by the Court granting the

 7 requested continuance outweigh the best interests of the public and the Defendants in a speedy trial.

 8                                                        Respectfully submitted,

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10 Dated: September 22, 2017                              _/s/ Timothy H. Delgado_____________
                                                          TIMOTHY H. DELGADO
11                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff United States
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     Dated: September 22, 2017                            _/s/ THD for Jeffrey L. Staniels_______
14                                                        JEFFREY L. STANIELS
                                                          Attorney for Defendant Henry Barlow
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     Dated: September 22, 2017                            _/s/ THD for Jerome Price___________
17                                                        JEROME PRICE
                                                          Assistant Federal Defender
18                                                        Attorney for Defendant Jesse Richardson
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       2
      STATUS CONFERENCE
               Case 2:17-cr-00048-JAM Document 21 Filed 09/22/17 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice

 6 are served by granting the requested continuance and outweigh the best interests of the public and the

 7 Defendants in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, to and including November 7,

 9 2017, shall be excluded from computation of time within which the trial in this case must be commenced

10 under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time for

11 counsel to prepare] and General Order 479 (Local Code T4). It is further ordered that the September 26,

12 2017 status conference shall be continued until November 7, 2017, at 9:15 a.m.

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14 Dated: September 22, 2017                               /s/ John A. Mendez_____________
                                                           Hon. John A. Mendez
15                                                         United States District Court Judge
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE         3
      STATUS CONFERENCE
